      Case 4:23-cv-00163-MW-MJF Document 33 Filed 05/19/23 Page 1 of 18




                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF FLORIDA
                         TALLAHASSEE DIVISION

WALT DISNEY PARKS AND RESORTS U.S., INC.,

      Plaintiff,

      v.                                             No. 4:23-cv-163-MW-MJF

RON DESANTIS, in his official capacity
as Governor of Florida, et al.,

     Defendants.
______________________________________/

                   DEFENDANTS’ MOTION TO DISQUALIFY
                      CHIEF JUDGE MARK E. WALKER

      Defendants move to disqualify Chief Judge Mark E. Walker (the Court) under

28 U.S.C. § 455(a) because the Court’s impartiality in this matter might reasonably

be questioned. This case involves claims that Defendants retaliated against Walt Dis-

ney Parks and Resorts U.S., Inc. based on Disney’s viewpoints. Yet two previous

times, in two unrelated cases, the Court sua sponte offered “Disney” as an example

of state retaliation. Those remarks—each derived from extrajudicial sources—were

on the record, in open court, and could reasonably imply that the Court has prejudged

the retaliation question here. Because that question is now before this Court, and

because that question involves highly publicized matters of great interest to Florida’s

citizens, the Court should disqualify itself to prevent even the appearance of impro-

priety.
     Case 4:23-cv-00163-MW-MJF Document 33 Filed 05/19/23 Page 2 of 18




                                 BACKGROUND

I.    The Court’s Prior Comments About Disney

      A.     Link v. Corcoran

      In Link v. Corcoran, No. 4:21-cv-271-MW-MAF (N.D. Fla.), the plaintiffs

moved for a preliminary injunction on the ground that the defendants—state educa-

tion officials—would punish the plaintiffs for the results of their “intellectual free-

dom and viewpoint diversity” surveys. Link, DE75 at 4. The plaintiffs argued that

“[g]overnment reprisal is not a speculative risk” because “Governor DeSantis and

Commissioner Corcoran have practically promised retaliation against Plaintiffs’

speech.” Id. at 21.

      At the preliminary-injunction hearing on April 1, 2022—amidst ongoing pub-

lic speculation about the potential dissolution of Disney’s hand-picked local govern-

ment, the Reedy Creek Improvement District (RCID), DE25 at 19–20—this Court

discussed justiciability and whether the plaintiffs had shown a reasonable fear of

First Amendment retaliation. Link, DE91 at 15–24. Specifically, the Court ques-

tioned how the surveys alone posed a threat to the plaintiffs’ speech, because the

statute at issue did not specify any “punitive measures that will be taken” by the

Legislature or any other government entity based on the survey results. Id. at 15–18.

The Court then used the State’s contemplated dissolution of Disney’s special district

as an example of retaliatory conduct:


                                          2
Case 4:23-cv-00163-MW-MJF Document 33 Filed 05/19/23 Page 3 of 18




       THE COURT: . . . I don’t understand how—it seems to me how
you can say that threat, the chill, is reasonable when you’ve got to as-
sume so many things. I mean, it requires you to assume the survey will
show that liberal views are widespread on campus. You’ve got to as-
sume the legislature will react by reducing their school funding and that
the funding will directly harm those plaintiffs . . . aren’t there too many
inferential steps for me to make at this juncture to find the chill is rea-
sonable?

        MS. VELEZ: Your Honor, there’s a lot to parse here. And the
first that I want to draw the Court’s attention back to is that we think
that the inquiry and the asking is a harm in and of itself. That’s under
the Baird decision. But, of course, we’re primarily attacking—

       THE COURT: But in that case, though—again, I just can’t let it
go. In that case, though, isn’t the reason why that chill would be rea-
sonable is you knew who I am and you know what my responses are,
so you can target me directly?
       I mean, I’ve already ruled, and the Eleventh Circuit will do what
it does, but, you know, in the UF professor case, the chill—they knew
who they were targeting, and they could target individuals, and so there
was—and had announced their intent to do so, per the head of the board
of trustees. So, I mean, there was facts before the Court that would—
didn’t require you to make a—stack inferences, but there were facts
before the Court from which such a reasonable fear could be adduced
from the record, other than the assumption—well, let me ask you this.

       What’s in the record, for example—is there anything in the rec-
ord that says we are now going to take away Disney’s special status
because they’re woke? Is there anything in the record that says—that
you put in the record that says we are going to slash the funding? We
did, in fact, take away millions of dollars from school boards because
they had the audacity to require their students to wear masks during a
pandemic.

       What sort of—and I’m not suggesting that would be determina-
tive in this case, but is that even in the record to say, Well, Judge, here’s
what we’ve got in the record that shows these fears are well founded?
Because, you know, Judge, if somebody says, I’m going to hit you with
a baseball bat, take them at their word; they’re going to hit you with a

                                     3
     Case 4:23-cv-00163-MW-MJF Document 33 Filed 05/19/23 Page 4 of 18




      baseball bat. They announced it, and . . . they’ve, in fact, done it in the
      past because here are the three people that just got hit with the baseball
      bat.

             So what do we have in the record that would support such a find-
      ing?
            MS. VELEZ: Well, Your Honor, I mean, of course, we think that
      we should take defendants at their word and everyone at their word.
      But, again, the larger point—

             THE COURT: . . . What’s in the record . . . that shows these very
      people have taken putative measures [or punitive measures]1 against
      those they’ve described as woke in other contexts?
Id. at 21–24 (emphasis added).

      The Court thus contrasted the claims in Link (where the alleged retaliation was

too speculative) with the State’s “tak[ing] away Disney’s special status because

they’re woke” (an example where retaliation supposedly was not speculative). The

hearing at which the Court drew that comparison came a few days after legislators

began publicly calling for the dissolution of Reedy Creek, 2 and just a day after the




      1
        Although the transcript records the Court as saying “putative measures,” this
appears to be a minor transcription error. The phrase “punitive measures” fits the
context better, and the Court used the phrase “punitive measures” just minutes earlier
during the same discussion. Link, DE91 at 16.
      2
         Spencer Roach, (@SpencerRoachFL), Twitter (Mar. 30, 2022, 6:46 AM),
https://twitter.com/SpencerRoachFL/status/1509119958369902595.

                                          4
     Case 4:23-cv-00163-MW-MJF Document 33 Filed 05/19/23 Page 5 of 18




Governor publicly refuted the idea that dissolving RCID would be “retaliatory.”3

Those state-official remarks about RCID were widely reported in the news cycles

surrounding the Link preliminary-injunction hearing, as were many similar state-

ments.4 And indeed, just a few weeks later, the State enacted Senate Bill 4C, which

dissolved RCID and five other special districts, effective June 1, 2023, unless the

Legislature took later action. See Ch. 2022-266, § 2, Laws of Fla. 5




      3
         3/31/22 Governor’s Press Conference on First Responder Bonuses, at
15:05–17:41, The Florida Channel (Mar. 31, 2022), https://thefloridachan-
nel.org/videos/3-31-22-governors-press-conference-on-first-responder-bonuses.
      4
         Rob Wile, Magic no more? DeSantis questions Disney’s special operating
city in Florida, NBC News (Apr. 2, 2022), https://www.nbcnews.com/business/con-
sumer/reedy-creek-disney-world-special-district-history-desantis-rcna22551; An-
drew Mark Miller, DeSantis broaches repeal of Disney World’s special self-govern-
ing status in Florida, Fox News (Mar. 31, 2022), https://www.foxnews.com/poli-
tics/desantis-on-disney-i-dont-support-special-privileges-in-law-because-a-com-
pany-is-powerful; Renzo Downey, Gov. DeSantis backs ending Disney’s ‘special
privileges’ as lawmakers threaten crackdown, Florida Politics (Apr. 1, 2022),
https://floridapolitics.com/archives/513011-gov-desantis-backs-ending-special-
privileges-as-lawmakers-explore-disney-crackdown; Skyler Swisher, DeSantis calls
for end to Disney’s ‘special privileges’ in Florida, Orlando Sentinel (Apr. 1, 2022),
https://www.orlandosentinel.com/2022/04/01/desantis-calls-for-end-to-disneys-
special-privileges-in-florida; Ariel Zilber, DeSantis may revoke Disney’s ‘self-gov-
erning’ status over ‘Don’t Say Gay’ feud, New York Post (Apr. 1, 2022), https://ny-
post.com/2022/04/01/desantis-may-yank-disneys-self-governing-status-in-dont-
say-gay-feud.
      5
          See also Bill Analysis and Fiscal Impact Statement, Comm. on Cmty. Af-
fairs, The Florida Senate (Apr. 19, 2022), https://www.flsenate.gov/Ses-
sion/Bill/2022C/4C/Analyses/2022s00004C.pre.ca.PDF (listing the six special dis-
tricts affected).

                                          5
     Case 4:23-cv-00163-MW-MJF Document 33 Filed 05/19/23 Page 6 of 18




      B.      Falls v. DeSantis

      On the same day that SB 4C became law, the plaintiffs in Falls v. DeSantis,

No. 4:22-cv-166-MW-MJF (N.D. Fla.), similarly moved for a preliminary injunction

based, in part, on the argument that the state-level defendants would take enforce-

ment action against the plaintiffs’ schools if the plaintiffs expressed opinions that

violated the Individual Freedom Act, 6 thus chilling their speech. See Falls, DE4 at

49 (“[M]ost teachers and employers will choose to err on the side of caution and

either avoid these topics altogether or espouse ideas with which Florida’s conserva-

tive politicians agree, rather than risk discipline, loss of funding, or a lawsuit.”).

      At the preliminary-injunction hearing on June 21, 2022, this Court discussed

the potential chilling effect of the State’s enforcement action. See Falls, DE58 at 73–

77. The Court summarized the plaintiffs’ theory that their “speech [wa]s chilled [be-

cause the defendants] can, under existing regs, cut funding, and if your school is

going to lose funding, then it would certainly create a chilling effect on a professor

who doesn’t want to be the source or cause of his school losing revenue.” Id. at 75.

The Court then brought up the example of school districts losing funding for impos-

ing “mask mandates” during the pandemic as a reason why the risk of reduced fund-

ing for violating the IFA would not be “fanciful or farfetched.” Id. at 76.

      Turning to the defendants’ counsel, the Court continued:


      6
          Ch. 2022-72, § 2–3, Laws of Fla. (IFA).
                                          6
      Case 4:23-cv-00163-MW-MJF Document 33 Filed 05/19/23 Page 7 of 18




             THE COURT: Does it make any difference that in—just in recent
      history when schools or entities or organizations have not complied
      with what is demanded by Tallahassee that funding has been cut, for
      example, the face mask? Does that make it any less speculative and less
      conjectural?
             MR. COOPER: Your Honor, I don’t think so because we cer-
      tainly concede that there is the possibility of that form of enforcement
      against the institutions, and that is, as you say, a recent example of that
      authority being exercised by the—I guess here, the Board of Governors.
             THE COURT: And then Disney is going to lose its status be-
      cause—arguably, because they made a statement that run afoul—ran
      afoul of state policy of the controlling party.
             At what point do you stack so many examples where punitive
      actions are taken if you don’t do what you are told that suddenly it no
      longer becomes conjectural and you pass that threshold so you can es-
      tablish standing? It’s no longer fanciful or conjectural.
Id. at 78–79 (emphasis added).

      In other words, the Court cited “Disney . . . los[ing] its status” as among a

pattern of “punitive actions” suggesting that other, future retaliation might not be

speculative. That was just two months after the passage of SB 4C. Id.; see Ch. 2022-

266, § 2.

II.   Disney’s Present Lawsuit

      The Legislature ultimately did not allow SB 4C to dissolve RCID. It instead

passed a new special law reestablishing the district under a new name—the Central

Florida Tourism Oversight District (CFTOD)—and a significantly revised charter.

See Ch. 2023-5, Laws of Fla. (HB 9B). The Governor signed HB 9B on February

27, 2023 and appointed new members to CFTOD’s Board of Supervisors.
                                          7
     Case 4:23-cv-00163-MW-MJF Document 33 Filed 05/19/23 Page 8 of 18




      Disney then sued the Governor, the Secretary of the Department of Economic

Opportunity, CFTOD’s Board, and CFTOD’s Administrator in this Court. See

DE25. Disney seeks, among other relief, to invalidate and declare unconstitutional

SB 4C and HB 9B because they were purportedly “motivated by retaliatory intent.”

See id. ¶ 215. According to Disney, “both pieces of legislation retaliate against Dis-

ney for its protected speech, [and so] Disney is entitled to a declaratory judgment

that the laws are unconstitutional and an order enjoining Defendants from enforcing

them.” Id. ¶ 220. Many of the allegations feature quotes from elected officials who

described Disney as being a “woke” corporation or having a “woke” ideology or

viewpoint; indeed, the word “woke” appears more than a dozen times in the amended

complaint. See, e.g., id. ¶¶ 53, 59, 60, 65, 69, 74, 99, 130, 148, 207, 218.

      Days before Disney filed suit, this Court in a written order expressed (in the

Link case) its views about political rhetoric directed at “woke” ideology, calling

“woke” the “boogeyman of the day.” Link, DE287 at 3.

               LEGAL STANDARD FOR DISQUALIFICATION

      Under 28 U.S.C. § 455(a), a federal judge “shall disqualify himself in any

proceeding in which his impartiality might reasonably be questioned.” “[T]he stand-

ard is whether an objective, fully informed lay observer would entertain significant

doubt about the judge’s impartiality.” Christo v. Padgett, 223 F.3d 1324, 1333 (11th

Cir. 2000).


                                           8
     Case 4:23-cv-00163-MW-MJF Document 33 Filed 05/19/23 Page 9 of 18




      The touchstone for recusal under Section 455(a) is “not the reality of bias or

prejudice but its appearance.” Liteky v. United States, 510 U.S. 540, 548 (1994).

“The very purpose of § 455(a) is to promote confidence in the judiciary by avoiding

even the appearance of impropriety whenever possible.” United States v. Patti, 337

F.3d 1317, 1321 (11th Cir. 2003) (quoting Liljeberg v. Health Servs. Acquisition

Corp., 486 U.S. 847, 865 (1988)). Thus, “any doubts must be resolved in favor of

recusal.” Id.; see also Parker v. Connors Steel Co., 855 F.2d 1510, 1524 (11th

Cir. 1988) (“It has been stated on numerous occasions that when a judge harbors any

doubts concerning whether his disqualification is required he should resolve the

doubt in favor of disqualification.”).

                                    ARGUMENT

      The Court’s unprompted suggestion, on two separate occasions, that the State

punished Disney by eliminating its “special status” gives an appearance of partiality

that would lead a reasonable observer to question whether the Court is predisposed

to ruling that the State retaliated against Disney. In both Link and Falls, this Court

cited, on the record, various examples of purportedly retaliatory acts committed by

the State “in other contexts,” and both times the Court referred to the loss of Disney’s

unique “status” as a prime example. E.g., Link, DE91 at 21–24; Falls, DE58 at 78–

79. Both times, the Court even associated the State’s Disney-related actions with

potential First Amendment protected activity—being “woke” (Link) and making “a


                                           9
     Case 4:23-cv-00163-MW-MJF Document 33 Filed 05/19/23 Page 10 of 18




statement that . . . ran afoul of state policy of the controlling party” (Falls). The

Court’s comments thus could reasonably be understood to reflect that the Court has

prejudged Disney’s retaliation theory here, and therefore create “significant doubt[s]

about the [Court’s] impartiality” in this important matter. Christo, 223 F.3d at 1333.

      The Court’s comments seemingly reflect its opinion on whether the State pun-

ished Disney’s speech by revoking Disney’s “special status.” That the Court made

such statements gives the impression, at a minimum, that it has “an uncommon in-

terest and degree of personal involvement in the subject matter” such that “a reason-

able person would harbor a justified doubt as to [the Court’s] impartiality.” United

States v. Cooley, 1 F.3d 985, 995 (10th Cir. 1993); see also Parker, 855 F.2d at 1524.

And indeed, given the “rarity of [these kinds of] public statements, and the ease with

which they may be avoided,” it is even “more likely that a reasonable person will

interpret such statements as evidence of bias.” In re Boston’s Children First, 244

F.3d 164, 170 (1st Cir. 2001).

      There is no mistaking the import of the Court’s statements. In Link, the Court

asked counsel point blank whether she had evidence that the Legislature had “taken

putative [or punitive] measures against those they’ve described as woke in other

contexts,” like anything “say[ing] we are now going to take away Disney’s special

status because they’re woke.” Link, DE91 at 23–24. And in Falls, the Court, in pon-




                                         10
     Case 4:23-cv-00163-MW-MJF Document 33 Filed 05/19/23 Page 11 of 18




dering whether the State had taken “so many . . . punitive actions” that it was rea-

sonable to believe that the State would soon take another, stated that “Disney is go-

ing to lose its status because—arguably, because they made a statement that run

afoul—ran afoul of state policy of the controlling party.” Falls, DE58 at 78. The

Court even offered that Disney could be among the “many examples where punitive

actions are taken if you don’t do what you are told.” Id. Whether Defendants took

punitive action against Disney based on speech is a principal issue here.

      True, the Court did qualify its statement in Falls with the term “arguably,” but

that does little to quell a reasonable perception that the Court may have prejudged

Disney’s retaliation theory. See Franklin v. McCaughtry, 398 F.3d 955, 961 (7th Cir.

2005). In Franklin, for example, a trial judge had referred to Franklin—a defendant

alleged of committing additional crimes while released on bail—as “an example”

for why a different defendant should not be released on bail. Id. On habeas review,

the Seventh Circuit held that the trial judge appeared “actually biased” given that he

had cited “Franklin as an example” of an “indigent prisoner[]” who had committed

more crimes while on bail, even though Franklin had not yet been adjudged guilty

of those additional crimes. Id. at 961–962. Nor was the Seventh Circuit swayed that

the trial judge had attached the qualifying term “alleged” to Franklin’s crimes:

      In context, despite the judge’s use of the magic word “alleged” in the
      memorandum, the inference is irresistible that the judge was pointing


                                         11
     Case 4:23-cv-00163-MW-MJF Document 33 Filed 05/19/23 Page 12 of 18




      to Franklin as the latest such incorrigible criminal, even though Frank-
      lin’s trial had not yet taken place. This is powerful circumstantial evi-
      dence that [the judge] had pre-judged Franklin’s case.

Id. at 961.

      The same inference of bias and prejudgment is “irresistible” here. As in

Franklin, this Court in Falls cited the State’s treatment of Disney as an example of

retaliatory motive. And as in Franklin, it does not matter that the Court used the

magic word “arguably” to qualify its suggestion that “Disney is going to lose its

status because . . . they made a statement” that “ran afoul of state policy of the con-

trolling party.” Falls, DE58 at 78; Franklin, 398 F.3d at 961.7

      Simply put, when a matter garners substantial “public attention,” “even am-

biguous comments may create the appearance of impropriety that § 455(a) is de-

signed to address.” In re Boston’s Children First, 244 F.3d at 170. After all, concerns

about the “appearance of partiality . . . stem[] from the real possibility that a judge’s

statements may be misinterpreted because of the[ir] ambiguity.” Id. (emphasis




      7
        If the Court’s courtroom commentary leaves any question as to the propriety
of disqualification, the Court’s characterization of “woke” as the “boogeyman of the
day” answers it. The Court’s “boogeyman” statement appeared not in a spontaneous
bench statement, but rather in the Court’s written final order of dismissal in the Link
case, published days before this lawsuit was filed. Link, DE287 at 3. Throughout its
amended complaint, Disney highlights remarks by the Governor and others about
Disney as “woke” and cites those remarks as evidence to support its unlawful retal-
iation claim. The Court’s reference to the woke “boogeyman” in Link enhances the
reasonable impression that the Court agrees with Disney’s characterizations.

                                           12
     Case 4:23-cv-00163-MW-MJF Document 33 Filed 05/19/23 Page 13 of 18




added). The Court’s comments, at the very least, remain “sufficiently open to mis-

interpretation” to “create [an] appearance of partiality.” Id.

      Finally, disqualification is especially appropriate here because the Court’s

comments “stem from extrajudicial sources” and were “focused against a party [in]

the proceeding.” Hamm v. Members of Bd. of Regents, 708 F.2d 647, 651 (11th Cir.

1983); see also Liteky, 510 U.S. at 551 (parties need not establish “pervasive bias”

where a judge’s comments about a party are rooted in extrajudicial sources). None

of the parties in Link or Falls had mentioned the State’s relationship with “Disney”

at either hearing in which this Court sua sponte offered them as examples of state

retaliation. We have found no mention by any of the parties of these subjects in any

of their pleadings. Thus, the Court’s understanding of what was happening to Disney

(losing its “status”)—as well as the Court’s suggestion of Defendants’ motives (“be-

cause they’re woke”; “because they made a statement that . . . ran afoul of state pol-

icy of the controlling party”)—must have originated from an extrajudicial source. In

fact, in Link, the Court stated—seconds after its suggestive comments about Dis-

ney—that some of its commentary from the bench may stem from “what I know

because I read the local newspaper.” Link, DE91 at 26.

                                    *      *      *

      For these reasons, “an objective observer would reasonably doubt” that De-

fendants “would be treated impartially” before this Court. United States v. S. Fla.

                                          13
     Case 4:23-cv-00163-MW-MJF Document 33 Filed 05/19/23 Page 14 of 18




Water Mgmt. Dist., 290 F. Supp. 2d 1356, 1361 (S.D. Fla. 2003). That recusal stand-

ard is critical to our judicial process, and this Court has recused itself consistent with

that standard before. In Kelly v. Davis, No. 3:10-cv-392-MW/EMT, 2015 WL

5442789, at *9 (N.D. Fla. Aug. 24, 2015), plaintiffs’ counsel moved to disqualify

the Court based on unfounded and irresponsible allegations that the Court had im-

proper ex parte conversations with his wife, an attorney with a firm only tangentially

connected to a client in the case. The Court properly denied the plaintiffs’ motion

for disqualification based on counsel’s “ungentlemanly, unprofessional, and com-

pletely unfounded attacks on [his] wife’s character.” Id. at *8. Nonetheless, the Court

still recused itself because it “[was] concerned about [its] ability to completely set

aside [its] initial reaction to this motion.” Id. at *9. As the Court noted, even though

it was confident that it would “fairly resolve whatever issues needed to be resolved

to conclude t[he] case,” “close questions should be resolved in favor of recusal.” Id.

      So too here. As the Court noted in Kelly, “[a] good judge should engage in

self-reflection in determining whether to remain on a case.” Id. The Court’s prior

statements at least raise a substantial question about whether the Court will resolve

this matter fairly. And in a case garnering as much “public attention” as this one, In

re Boston’s Children First, 244 F.3d at 170, a “close question” like this “should be

resolved in favor of recusal,” Kelly, 2015 WL 5442789, at *9.




                                           14
    Case 4:23-cv-00163-MW-MJF Document 33 Filed 05/19/23 Page 15 of 18




                                  CONCLUSION

      For the above reasons, the Court should recuse itself and order that the case

be reassigned to another judge.


Dated: May 19, 2023                       Respectfully submitted,

                                          ASHLEY MOODY
                                           Attorney General of Florida
/s/ Charles J. Cooper                     /s/ John Guard
CHARLES J. COOPER                         JOHN GUARD (FBN 374600)
(BAR NO. 248070DC)                          Chief Deputy Attorney General
DAVID H. THOMPSON*                        JAMES H. PERCIVAL (FBN 1016188)
PETER A. PATTERSON*                         Chief of Staff
MEGAN M. WOLD*                            HENRY C. WHITAKER (FBN 1031175)
JOSEPH O. MASTERMAN                         Solicitor General
(FBN 1004179)                             DANIEL W. BELL (FBN 1016188)
JOHN D. RAMER*                              Chief Deputy Solicitor General
                                          DAVID M. COSTELLO (FBN 1004952)
COOPER & KIRK, PLLC                         Deputy Solicitor General
1523 New Hampshire Ave., N.W.,
Washington, D.C. 20036                    OFFICE OF THE ATTORNEY GENERAL
(202) 220-9600                            The Capitol, PL-01
ccooper@cooperkirk.com                    Tallahassee, FL 32399
                                          (850) 414-3300
/s/ Jason Gonzalez                        john.guard@myfloridalegal.com
PAUL C. HUCK JR. (FBN 968358)**
ALAN LAWSON (FBN 709591)**                Counsel for Governor DeSantis and
JASON GONZALEZ (FBN 146854)               Secretary Ivey

LAWSON HUCK GONZALEZ, PLLC
215 S. Monroe St., Ste. 320               * pro hac vice motion forthcoming
Tallahassee, FL 32301                     ** admission to the Northern District of
jason@lawsonhuckgonzalez.com              Florida forthcoming

Counsel for the CFTOD Board and Ad-
ministrator

                                        15
     Case 4:23-cv-00163-MW-MJF Document 33 Filed 05/19/23 Page 16 of 18




                       CERTIFICATE OF CONFERRAL

      Consistent with Local Rule 7.1(B), Defendants raised the issues identified in

this motion with Disney. It opposes the requested relief.

                                           /s/ John Guard
                                           Chief Deputy Attorney General




                                         16
    Case 4:23-cv-00163-MW-MJF Document 33 Filed 05/19/23 Page 17 of 18




                        CERTIFICATE OF COMPLIANCE

      This motion complies with the requirements of Local Rule 7.1(F) because it

contains 3,548 words.

                                        /s/ John Guard
                                        Chief Deputy Attorney General




                                      17
    Case 4:23-cv-00163-MW-MJF Document 33 Filed 05/19/23 Page 18 of 18




                         CERTIFICATE OF SERVICE

      I hereby certify that on May 19, 2023, a true and correct copy of the foregoing

was filed with the Court’s CM/ECF system, which will provide service to all parties.

                                           /s/ John Guard
                                           Chief Deputy Attorney General




                                        18
